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AO 450 (Rev. 01/09) Judgment in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the                                          FEB 2 6      2019
                                                        Western District of Texas                         CLERK     U.S.
                                                                                                              DISTRICT COUi
                                                                                                         WSTEffIcF
    LEAGUE OF UNITED LATIN AMERICAN CITIZENS
                     Plaint ff
                                V.                                          Civil Action No. 5:18-CV-175-DAE
             GREGORY WAYNE ABBOTT et aI
                            Defendant


                                                 JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one).

    the plaintiff (name)                                                                                       recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus postjudgment interest at the rate of              %, along with costs.

U     the plaintiff recover nothing, the action be dismissed on the merits, and the defendant           (name)
                                      recover costs from the plaintiff (name)


19! other:     Court GRANTS Defendants' Motion to Dismiss. Court finds Plaintiffs' Fourteenth Amendment "one person,
               one vote" claim is precluded by binding precedent, that claim is DISMISSED WITH PREJUDICE. Court
               believes any amendment to Plaintiffs' First Amendment freedom of association and VRA Section 2 claims
               would be futilefor the reasons discussed in this orderthose claims are DISMISSED WITH PREJUDICE

This action was (check one):

U tried by a jury with Judge                                                                            presiding, and the jury has
rendered a verdict.
U tried by Judge                                                                         without a jury and the above decision
was reached.
I decided by Judge           David Allen Ezra




Date:            02/26/20 19                                                CLERK OF COURT


                                                                                                                            Amy Jackson
                                                                                              ure   f   Clerk or Deputy Clerk
